                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                     CENTRAL DIVISION

 JANE DOE 1, et al.,

                 Plaintiffs,

            v.                                              Case No. 19-cv-04229-NKL

 THE CURATORS OF THE UNIVERSITY OF
 MISSOURI,

                 Defendant.


                                             ORDER
       Pending is Defendant’s Motion for Summary Judgment, which is directed to Plaintiffs’

requests for damages. For the reasons set forth below, the motion, (Doc. 194), is DENIED.

       I. BACKGROUND

       Plaintiffs, two female former students at the University of Missouri-Columbia, reported

sexual harassment and sexual assault by T.P., then a member of the University’s men’s basketball

team. Thereafter, Plaintiffs filed this suit; the Second Amended Complaint, (Doc. 75), asserts four

counts alleging violations of Title IX, 20 U.S.C. § 1681(a), and one count alleging breach of

contract. In a separate Order the Court has concluded that some of the Title IX claims (and the

breach of contract claim) survive Defendant’s Motion for Summary Judgment. The factual details

giving rise to Plaintiffs’ claims, and the nature of the claims that remain pending, are discussed in

detail in that Order and need not be repeated here. In other Orders, the Court ruled that Plaintiffs

could not recover punitive damages or emotional distress damages on their Title IX claims. (Doc.




         Case 2:19-cv-04229-NKL Document 209 Filed 08/30/22 Page 1 of 5
155; Doc. 175.)1 Now pending is Defendant’s motion seeking summary judgment on additional

categories of damages. The motion, (Doc. 194), is DENIED.

         Defendant’s arguments are directed to Plaintiffs’ requests for compensatory and nominal

damages on the Title IX claims. They contend that the damages were not properly pleaded or

disclosed, and some cannot be established. The Court rejects Defendant’s arguments and the

motion, (Doc. 194), is DENIED.

         II. DISCUSSION

                  A. Procedural Issues

         In October 2020, Plaintiffs responded to an interrogatory designed to obtain information

about their damages by “stat[ing] that the extent of [their] damages have not been finalized and

that this interrogatory will be supplemented in accordance with the Federal Rules of Civil

Procedure.” (Doc. 153-1, p. 5.) Plaintiffs provided supplemental responses on June 21, 2021, but

their response to the interrogatory asking about their damages was the same. (Doc. 153-1, p. 10.)

On that same day Plaintiffs filed their Initial Disclosures; their disclosure of damages was the

same. (Doc. 153-1, p. 17.) Discovery closed in September 2021. Plaintiffs updated their responses

in August 2022 – after discovery closed. Defendant contends that Plaintiffs’ failure to supplement

their responses before discovery closed precludes them from seeking damages at trial.

         The Court disagrees for several reasons. First, the Second Amended Complaint and

Plaintiffs’ discovery responses made clear that they were seeking damages, so there is no surprise

to Defendant. Second, Defendant never raised a discovery dispute contesting the adequacy of

Plaintiff’s damage disclosures. Third, during discovery Defendant knew the factual predicates for


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  Defendant asserts that the “Court has previously ruled that Plaintiffs may not recover punitive or emotional distress
damages in this case.” (Doc. 194, p. 1.) The Court’s ruling with respect to emotional distress damages related only
to Plaintiffs’ Title IX claims; the Court has not ruled whether emotional distress damages are available on the breach
of contract claim. The matter has been raised in a Motion in Limine but briefing on that issue is not complete.


                                        2
           Case 2:19-cv-04229-NKL Document 209 Filed 08/30/22 Page 2 of 5
Plaintiff’s damages. For instance, they knew that Doe 2 left to attend a different university and

was claiming increased tuition and other expenses associated with that decision, and that both

Plaintiffs sought lost wages. They also knew that Doe 2 saw a counselor and is seeking the costs

associated with that as well. And during Plaintiffs’ depositions Defendant had the opportunity to

inquire further into the matter. Finally, Plaintiffs supplemented their responses on regarding

damages on August 3, 2022 and again on August 22, 2022, and further agreed with Defendant that

Defendant could “seek brief depositions of Plaintiffs limited to the additional information provided

by Plaintiffs concerning their claims for damages after reviewing the . . . supplemental materials.”

(Doc. 176, ¶ 4.) Plaintiffs indicated that they “intend[ed] to object to any additional depositions

of Plaintiffs” sought by Defendant, (id.), but the Court has not been asked to rule on any such

objections. Therefore, either (1) Defendant opted not to pursue the opportunity or (2) Defendant

sought Plaintiffs’ depositions and Plaintiffs did not object. Regardless, Defendant had an avenue

to seek depositions about the supplemental materials Plaintiffs provided. Given the lack of surprise

to Defendant, the avenues that were available to Defendant to raise the issue, the limited nature of

the damages sought, and the opportunities Defendant has to seek further information even now,

the Court discerns no prejudice to Defendant and declines to prohibit Plaintiffs from seeking

damages.

       Defendant presents a slightly different procedural argument with respect to Plaintiffs’

requests for nominal damages: Defendant contends that Plaintiffs cannot recover nominal damages

because they did not include a specific request for nominal damages in the Second Amended

Complaint. However, the need to specifically request nominal damages was not apparent until the

Supreme Court decided Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562 (2022) –

until then, Plaintiffs could rely on their claims for emotional distress damages to support the Title




                                      3
         Case 2:19-cv-04229-NKL Document 209 Filed 08/30/22 Page 3 of 5
IX claims.2 The change in the law alters the legal landscape that existed when the Second

Amended Complaint was drafted. Moreover, allowing Plaintiffs to seek nominal damages is not

prejudicial to Defendant because no discovery is required and the only effect will be to preserve

Title IX claims that the parties have always known have been present. Accordingly, under these

circumstances the Court interprets the Second Amended Complaint’s request for “other relief as

the Court deems proper” to include a request for nominal damages.3

        The cases Defendant cites holding that this general phrase cannot support a claim for

nominal damages are distinguishable. None involve the unique circumstances present in this case.

Some are cases that were dismissed because the claims were moot and the plaintiffs sought reversal

by claiming – for the first time on appeal – that their general prayer for relief included a request

for nominal damages. Davis v. District of Columbia, 158 F.3d 1342, 1349 (D.C. Cir. 1998);

Thomas R.W. v. Massachusetts Dep’t of Educ., 130 F.3d 477, 480-81 (1st Cir. 1997). The district

court cases Defendant cites do note persuade the Court that it should not exercise its discretion to

allow Plaintiffs to seek nominal damages.

                 B. Evidence to Support Damages

        Defendant contends that it is entitled to summary judgment on Plaintiffs’ damage claims

because the Record does not demonstrate that they suffered any damages. However, this argument

is largely an extension of Defendant’s prior argument regarding Plaintiffs’ discovery responses

and disclosures and it is rejected for the reasons stated above.



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 Defendant does not contend that nominal damages are not available under Title IX. This is just as well because the
Court readily concludes that, based on numerous authorities (including several cited in Cummings), nominal damages
are generally available for breach of contract. See, e.g., Restatement (Second) of Contracts 346(2); 11 J. Perillo,
Corbin on Contracts § 55.10, at 34-36 (2005); 3 E. Farnsworth, Farnsworth on Contracts § 12.8, p. 189 (2004); 24 R.
Lord, Williston on Contracts § 64.9, pp. 50-53 (2018).
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 This ruling should not be construed as a holding by the undersigned that nominal damages need never be specifically
sought in the complaint.


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          Case 2:19-cv-04229-NKL Document 209 Filed 08/30/22 Page 4 of 5
       Defendant also contends that “Plaintiffs’ response fails to provide the Court with any basis

to conclude that any of the categories of alleged damages that Plaintiffs now claim are

recoverable,” (Doc. 194, p. 16), but it is the moving party’s obligation to demonstrate that the

material facts entitle it to summary judgment. Beyond this general assertion Defendant presents

few arguments explaining why the evidence does not support Plaintiff’s damage claims, and those

it does present are unpersuasive. For instance, it contends that Doe 2 cannot recover housing

expenses because she was not living on campus when she attended the University of Missouri.

However, she was living somewhere, and if the University’s Title IX violations caused her to move

to another city to attend school, contract remedies would allow her to recover any increased

expenses she incurred to attend the “replacement” school. Defendant also contends that “Plaintiffs

cannot credibly claim that Plaintiffs’ alleged lost wages were proximately caused by the

University’s” actions, (Doc. 194, p. 17), but provides no basis for the Court to rule, as a matter of

law, that Plaintiffs’ lost wages were not caused by the University’s actions.

       The Court’s ruling should not be misconstrued as holding that Plaintiffs can recover any

particular component of damage. The Court’s ruling is simply that Defendant has not identified

uncontroverted facts demonstrating that it is entitled to judgment as a matter of law.

       III. CONCLUSION

       For the reasons discussed above, the University’s motion for summary judgment regarding

damages available under Title IX (Doc. 194) is DENIED.

                                                      s/ Nanette K. Laughrey
                                                      NANETTE K. LAUGHREY
                                                      United States District Judge

Dated: August 30, 2022
Jefferson City, Missouri




                                      5
         Case 2:19-cv-04229-NKL Document 209 Filed 08/30/22 Page 5 of 5
